EXHIBIT A
    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK


    JOSHUA ADAM SCHULTE,

                                     Plaintiff,
                                                                 21-CV-4042 (JMF)
                              -v-
                                                                 Draft Amended
    UNITED STATES OF AMERICA,                                    Complaint1

                                     Defendant.


       Plaintiff Joshua Adam Schulte, through counsel, alleges as follows:

                                    NATURE OF THE ACTION

       1.      Defendant, the United States of America, and its constituent part, the Federal

Bureau of Prisons (“BOP”), owes a duty of care to the inmates housed in its facilities. That duty

requires the government to meet detained peoples’ basic needs, including heat, the conditions

required for sleep, non-toxic air, sanitation, adequate food, and medical care. The BOP repeatedly

failed to meet its basic obligations to Mr. Joshua Adam Schulte, Plaintiff, during his confinement

at the Metropolitan Correctional Center (“MCC”) in New York City.

       2.      Mr. Schulte suffered physical and emotional injuries resulting from Defendant’s

negligence. He grew ill after he was left to spend the night in a cell flooded with putrid sewage

from the cell toilet. He lived through two winters without adequate heat, wearing every item of

clothing he possessed to protect against the extremely low temperatures. He suffered sleep


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        This Draft Amended Complaint has been prepared by counsel. It is discussed in the
Opposition to the Government’s Motion to Dismiss this action, filed on behalf of Mr. Joshua Adam
Schulte, by counsel, as an exhibit in support of Mr. Joshua Adam Schulte’s application for
permission to amend the complaint currently filed in this action pursuant to Rule 15(a)(2) of the
Federal Rules of Civil Procedure or for such other and further relief as the Court deems just and
proper.
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deprivation due to constant bright lighting above his head and noise from BOP Officials outside

his door. He was denied physical exercise for weeks at a time. He struggled to breathe as a result

of the air in his cell being variously filled with pepper spray, laundry particles, and mold, which

covered the cells in which he was housed.

       3.      These are not the conditions of confinement required in a civilized society.

       4.      As a result of the BOP’s negligent failure to adequately mitigate these inhumane

conditions, Mr. Schulte’s physical health has deteriorated. Manifestations and symptoms of this

deterioration have included muscle atrophy, breathing problems, sleep deprivation, increasingly

frequent and severe migraines, illness with COVID-19, and intestinal issues. Mr. Schulte has also

suffered emotional distress as a result of the BOP’s negligent failure to maintain adequate living

conditions.

       5.      The BOP’s negligent acts and omissions were not discretionary decisions about

prison policy, and instead represent an unlawful disregard for the health and well-being of Mr.

Schulte which resulted in both physical and emotional injury.

       6.      The BOP should be held accountable for its negligent acts and omissions causing

injury to Mr. Schulte.

                                JURISDICTION AND VENUE

       7.      This is a civil action seeking monetary relief for the negligence of the United States

and its constituent part and instrumentality, the BOP, toward Mr. Schulte, brought pursuant to 28

U.S.C. § 2674. The Court has jurisdiction in this action pursuant to 28 U.S.C. § 1346(b)(1).

       8.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2), 1402(b), as the

events giving rise to this action occurred at the MCC in New York County, New York, located

within the Southern District of New York.



                                                 2
                                          PARTIES

        9.     Plaintiff, Joshua Adam Schulte, was detained in the 10 South unit of the now-

shuttered MCC from October 2018 until October 2021.           He is currently detained at the

Metropolitan Detention Center (“MDC”).

        10.    Defendant, the United States of America, and its constituent part and

instrumentality, the BOP, operated the MCC during the relevant time period. The BOP was

responsible for overseeing and implementing all operations and procedures at the MCC.

                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

        11.    Mr. Schulte has exhausted all administrative remedies prior to filing this civil

complaint. Mr. Schulte originally filed grievances to the MCC in December of 2018, but the MCC

did not timely respond to the grievances. Mr. Schulte then appealed those grievances to the

Northeast Regional Office, which were denied for failure to file at the institutional level. Mr.

Schulte subsequently appealed to the Central Office and was similarly denied. Mr. Schulte filed

administrative remedies in 2019, 2020, and 2021, many of which were ignored and none of which

were successful. After properly exhausting his administrative remedies, Mr. Schulte now seeks

redress through the courts.

                               STATEMENT OF THE FACTS

        12.    On or around October 2018, the BOP removed Mr. Schulte from the general

population at the MCC and placed him in the MCC’s 10 South unit, the facility’s most restrictive

unit.   This action followed the Department of Justice’s issuance of Special Administrative

Measures (“SAMs”) applicable to Mr. Schulte.

        13.    Mr. Schulte was detained in 10 South from October 2018 until October 2021.




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       14.     The MCC is in downtown Manhattan, adjacent to the federal courthouses. It was

closed in the late fall of 2021 due to frequent and severe plumbing, electrical, heating, cooling,

and ventilation issues, among other dysfunctions.

       15.     During his detention in 10 South, Mr. Schulte was isolated in one of the unit’s six

cells for 23 hours a day. He was restricted to no-contact visitation with his criminal counsel and

no-contact, monitored visitation with his parents. 10 South inmates were rotated from one cell to

another every three weeks.

       16.     All visitors had to agree not to pass on any information from Mr. Schulte to third

parties, and he had no communication of any sort with any other people except for ordinary mail

service, which was limited, monitored, and unreliable.

I.     EXPOSURE TO PUTRID SEWAGE

       17.     The cells in 10 South faced chronic plumbing problems.

       18.     Between October 2018 and June 2021, Mr. Schulte experienced regular water and

sewage leaks, lack of water pressure in the sink and shower, lack of hot water, inability to control

the temperature of the water, and other plumbing failures.

       19.     There was little regulation of water temperature. Mr. Schulte burned his skin when

the water was too hot and had no choice but to wash with freezing water at other times.

       20.     Between his arrival at 10 South in October 2018 and October 30, 2020, Mr. Schulte

experienced incidents of putrid sewage flooding his cell on three separate occasions in 10 South.

Two of those incidents occurred in Cell #4. On each of those prior occasions, Mr. Schulte was

moved to a different cell a couple hours after the flooding began.

       21.     On or around October 30, 2020, Mr. Schulte returned to his cell (Cell #4) from the

recreation room at approximately 5:00 PM and took a shower.



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       22.     When he finished his shower, Mr. Schulte noticed putrid sewage leaking from the

cell toilet, which was spreading across the cell floor. Mr. Schulte informed the Lieutenant on

duty—a Lieutenant Mr. Schulte had not seen before—that his cell was flooding with sewage from

the toilet. He asked to be moved to a different cell and explained to the Lieutenant that sewage

flooding was a common problem in 10 South.

       23.     The Lieutenant told Mr. Schulte he would address the issue. The Lieutenant never

returned or followed up with Mr. Schulte. Several inches of sewage had accumulated to cover the

cell floor. The sewage began to leak under the cell door and into the hallway. A Corrections

Officer began continuously mopping outside Cell #4 to stem the flow of the sewage into the

hallway.

       24.     At approximately 8:30 PM, a second Lieutenant approached Mr. Schulte’s cell,

covering his nose and asking the Corrections Officer, “what’s that smell?” Mr. Schulte explained

the situation to the second Lieutenant. The Lieutenant told Mr. Schulte they would move him to

a different cell. On information and belief, there was an empty cell (Cell #1) in 10 South on the

night of October 30, 2020.

       25.     The second Lieutenant did not return to Mr. Schulte’s cell again until approximately

12:00 AM.      Between approximately 8:30 PM and 12:00 AM, Mr. Schulte repeatedly

communicated with the Corrections Officer mopping outside his cell door. Mr. Schulte repeatedly

told the Corrections Officer that the flooding was intensifying and that he had begun to feel

physically sick.

       26.     The Corrections Officer told Mr. Schulte repeatedly that he had called the

Lieutenant and told him Mr. Schulte needed to be moved. At approximately 12:00 AM, the second

Lieutenant returned to Mr. Schulte’s cell and informed him that it was “too late” to move him to a



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different cell. The Lieutenant said they would move him in the morning. At approximately 2:00

AM, Mr. Schulte began to vomit and experience diarrhea. Unable to use the malfunctioning toilet

inside his cell, Mr. Schulte was forced to use the shower drain to vomit and relieve himself.

       27.     At approximately 3:00 AM, a Corrections Officer passed Mr. Schulte’s cell, and

Mr. Schulte informed the Officer that he had started vomiting. He requested medical attention.

The second Lieutenant never returned to Mr. Schulte’s cell. At approximately 7:30 AM on the

morning of October 31, 2020, a third Lieutenant passed Mr. Schulte’s cell during the breakfast

distribution. Mr. Schulte recounted the night’s events to the third Lieutenant. Mr. Schulte told

him he could not and would not eat until he was moved to a different cell.

       28.     On information and belief, the third Lieutenant had Mr. Schulte moved to Cell #1

around 9:30 AM. Mr. Schulte experienced intestinal illness for days following this incident.

II.    EXPOSURE TO EXTREME TEMPERATURES

       29.     During two of the three winters Mr. Schulte spent in 10 South, the heating system

did not work for long periods of time. Cold air blew out of the vents. Mr. Schulte could not hold

a book in his hands to read without losing feeling in his fingers. On one occasion a cup of water

froze inside his cell. When he told the BOP official on duty that water had frozen inside his cell,

the official insisted to Mr. Schulte that the temperature in the cell was 75 degrees Fahrenheit.

       30.     Mr. Schulte frequently wore three layers of clothing to try to keep warm. He could

not remove these layers of clothing without trembling. His appendages routinely went numb

within minutes of exposure to the air inside the cell. The 10 South BOP officials wore thick jackets

and gloves during their shifts to keep themselves warm. They did not supply Mr. Schulte with

winter clothing so that he could do the same.

       31.     During the summer months, Mr. Schulte was exposed to high temperatures without

access to air conditioning. Between the weeks of July 4th and the Summer Solstice, no air
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conditioning cooled the cells. Poor air quality in the cells contributed to the oppressive effects of

the heat. Mr. Schulte would remove all his clothes and press against the cement walls of the cells

to attempt to cool down. During the summer months, the 10 South cell temperatures were often

sufficiently high to prevent Mr. Schulte from sleeping.

        32.     During summer and winter months Mr. Schulte developed debilitating migraine

headaches approximately once each week. The headaches caused severe pain and limited or

prevented him from engaging in any activities. He was forced to remain prone with his eyes shut.

III.    SLEEP DEPRIVATION

        33.     At all relevant times, the fluorescent light fixtures directly above the beds in the 10

South cells were illuminated twenty-four hours a day. The lights were approximately 30 inches

long. The positioning and brightness of the light inside the cells prevented Mr. Schulte’s ability

to sleep.

        34.     During his detention in 10 South, Mr. Schulte was rotated every three weeks to a

different cell in the unit. Rotation through the six cells in the unit encompassed a period of 18

weeks. BOP officials working the night shift would engage in continuously loud activities and

conversations at the staff station immediately adjacent to Cell #1. As Mr. Schulte was moved into

cells closer to this staff station, it would become increasingly difficult to sleep.

        35.     For example, Mr. Schulte was unable to sleep for more than an hour for each night

of the three-week rotations he spent in Cell #1, due to a combination of the noise made by the

guards on duty throughout the night, the twenty-four-hour florescent light coming from a roughly

two-foot-long fixture directly above his bed and, depending upon the time of year, the extreme

temperatures inside the cell.




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       36.     During repeated, multi-week periods of sleep deprivation in cells close to the staff

station, Mr. Schulte experienced migraines, each lasting ten to twelve hours, which increased in

frequency to approximately twice a week during his Cell # 1 rotations.

IV.    EXPOSURE TO TOXIC AIR

       37.     On information and belief, beginning in October 2018, BOP officials in 10 South

indefinitely blocked the windows in Mr. Schulte’s cell, preventing outside air—as well as natural

light—from entering his cell.

       38.     On information and belief, at all relevant times, clearly visible brown, yellow, and

black mold covered the ceilings and walls of all six cells in 10 South. The mold grew most

concentratedly on the materials used to block the cell windows. The mold was especially prevalent

in the several cells with continuous water leaks. Mr. Schulte regularly spent three weeks at a time

in these cells, which measured approximately six-by-twelve feet.

       39.     Mr. Schulte observed and inhaled the mold in the 10 South cells from October 2018

until June 2021. On information and belief, at all relevant times, the MCC ventilation system

circulated air into 10 South from the SHU unit on the 9th floor. Any use of pepper spray in the 9th

floor SHU unit resulted in pepper spray particles circulating into the 10 South cells. On these

occasions, Mr. Schulte struggled to breathe.

       40.     On information and belief, at all relevant times, air from the laundry unit was also

circulated into 10 South. Mr. Schulte regularly observed orange lint particles coating surfaces

inside the 10 South cells. He could not avoid inhaling the particles and would struggle to breathe.

       41.     Mr. Schulte looked forward to leaving his cell for the recreation room, where a

cracked window permitted detainees to inhale fresh outside air if they put their faces close to the

opening. In or around March 2020, BOP officials moved the MCC general population detainees



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infected with COVID-19 to the SHU. Within days of this move, all detainees in 10 South,

including Mr. Schulte, contracted COVID-19.

       42.     Mr. Schulte’s exposure to the air in 10 South caused him to develop respiratory

issues, which have precluded him from engaging in the kinds and degree of physical exercise to

which he was previously accustomed.

V.     PROHIBITION OF OUTDOOR RECREATION AND LIMITATION ON INDOOR
       RECREATION

       43.     While housed in general population at the MCC, Mr. Schulte would play basketball

or engage in other cardiovascular exercise daily or almost daily. From October 2018 to June 2021,

Mr. Schulte was not permitted outdoor recreation and had only limited access to indoor recreation.

At times, Mr. Schulte would be denied even indoor recreation for three to six weeks at a time.

       44.     The indoor recreation room in 10 South was too small to run or walk around in, and

inmates used it to watch television, further limiting space for physical exercise. The two pieces of

exercise equipment in the room were made entirely of metal and were painful to use.

       45.     Mr. Schulte developed hemorrhoids during this period of involuntary inactivity.

The hemorrhoids lasted for 18 months and made it painful for Mr. Schulte to sit or sleep. Mr.

Schulte was eventually provided medication to treat the condition, but was given no medication to

account for his pain. After informing medical staff of the hemorrhoids, the doctor and medical

staff told Mr. Schulte that hemorrhoids were common among inmates in 10 South who had little

access to physical activity.

       46.     Mr. Schulte has pre-existing heart issues which can be mitigated by consistent

exercise. When he was unable to exercise in 10 South, Mr. Schulte experienced increasingly

frequent and acute heart palpitations and migraines. Mr. Schulte developed acute ankle pain that




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prevented him from even attempting to run. Mr. Schulte also continues to experience muscle

atrophy and persistent throbbing in his legs and arms.

                                    CAUSES OF ACTION

       47.     Mr. Schulte hereby realleges and incorporates by reference paragraphs 1–46.

       48.     Mr. Schulte is entitled to damages under 28 U.S.C. § 1346(b)(1) of the Federal Tort

Claims Act (“FTCA”), consistent with the Act’s provision that a person has a remedy under the

FTCA when a federal actor breaches the duty of care established by a private tort law analogue in

the jurisdiction where the wrong occurred. In this case, New York State law provides a remedy

for a person in private analogue for the tort claims alleged under the FTCA.

                                 FIRST CAUSE OF ACTION

             (Damages for Negligence for Confinement in Cell Flooded with Sewage)

       49.     Mr. Schulte repeats and incorporates by reference paragraphs 1–46.

       50.     Mr. Schulte was left in a cell flooded with putrid sewage several inches deep for

over fourteen hours, even as Cell #1 remained empty nearby.

       51.     The BOP was aware of the repulsive and unsafe conditions inside Mr. Schulte’s

cell. This type of plumbing dysfunction had occurred before and a process for moving a 10 South

inmate in the event of such dysfunction existed. No BOP official acted to mitigate the situation,

even after multiple BOP officials became aware of the worsening sewage leak and even after Mr.

Schulte repeatedly called for help and medical attention.

       52.     At all relevant times pursuant to this Amended Complaint, the BOP had a duty to

exercise ordinary care to Mr. Schulte.

       53.     The BOP failed to uphold this duty to Mr. Schulte when it failed to move him from

the sewage-flooded cell for over fourteen hours, which resulted in Mr. Schulte’s developing acute

intestinal distress. Multiple BOP officials’ failure to remove Mr. Schulte from a sewage-flooded

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cell, even after he began to vomit and experience diarrhea, demonstrated a disregard for his safety

and health and was a result of the BOP’s negligent acts and omissions.

       54.     The actions of the BOP represent an impermissible deviation from the actions a

reasonable individual would have taken in their positions, given their knowledge and employment

as operators of the MCC.

       55.     At all relevant times pursuant to this Amended Complaint, BOP employees were

acting within the scope of their employment by the BOP, a constituent part of the United States.

       56.     A private employer would otherwise be liable for the negligence of Defendant. The

United States is therefore liable for tort claims under the FTCA.

       57.     The BOP’s negligence resulted in Mr. Schulte’s physical illness including

vomiting, diarrhea, intestinal illness, headache, and emotional distress.

                                SECOND CAUSE OF ACTION

                  (Damages For Negligent Exposure to Extreme Temperatures)

       58.     Mr. Schulte repeats and incorporates by reference paragraphs 1–46.

       59.     Mr. Schulte was forced to endure entire winter seasons in the MCC’s 10 South

without working heat. During the winter, temperatures inside the cells were extremely cold, often

freezing or near-freezing. BOP staff would complete their shifts dressed in their winter coats.

Standing water inside Mr. Schulte’s cell froze. During the summer, a complete lack of air-

conditioning and ventilation resulted in cell temperatures so high that Mr. Schulte could not sleep

and experienced an increase in migraines.        These conditions were compounded by related

deteriorations in other conditions of confinement, including intermittent lack of access to

recreation and the plumbing, air quality, and electrical issues.

       60.     The BOP was aware of these conditions, which also affected BOP officials working

inside the 10 South unit during the relevant time period.

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       61.     At all relevant times pursuant to this Amended Complaint, the BOP had a duty to

exercise ordinary care to Mr. Schulte.

       62.     At all relevant times pursuant to this Amended Complaint, the BOP repeatedly and

enduringly failed to uphold this duty to Mr. Schulte, resulting in inhumane and dangerous living

conditions that caused Mr. Schulte to live for months in extreme temperatures without relief. The

failure to mitigate this excessive risk to health and safety was the result of the BOP’s negligent

acts and omissions and demonstrated a complete disregard for Mr. Schulte’s basic human needs.

       63.     The actions of the BOP represent an impermissible deviation from the actions a

reasonable individual would have taken in their positions, given their knowledge and employment

as operators of the MCC.

       64.     At all relevant times pursuant to this Amended Complaint, BOP employees were

acting within the scope of their employment by the BOP, a constituent part of the United States.

       65.     A private employer would otherwise be liable for the negligence of Defendant. The

United States is therefore liable for tort claims under the FTCA.

       66.     Because of the BOP’s unlawful conduct, Mr. Schulte has suffered compounding

and multifaceted physical injury in the form of increasingly frequent and acute migraines, loss of

sleep, and sustained dehydration in turn resulting in muscle atrophy and hemorrhoids.

                                  THIRD CAUSE OF ACTION

                           (Damages For Negligent Deprivation of Sleep)

       67.     Mr. Schulte repeats and incorporates by reference paragraphs 1–46.

       68.     The BOP negligently caused Mr. Schulte to endure weeks at a time of less than one

hour of sleep each night, due to the twenty-four-seven bright fluorescent light directly above the

cell beds and constant noise created immediately next to the first cell on the unit by BOP staff

during night shifts.

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        69.    The BOP was aware of these conditions, which Mr. Schulte repeatedly reported

and communicated to BOP officials, and which were open and obvious throughout the 10 South

unit.

        70.    At all relevant times pursuant to this Amended Complaint, the BOP had a duty to

exercise ordinary care to Mr. Schulte.

        71.    At all relevant times pursuant to this Amended Complaint, the BOP failed to uphold

this duty to Mr. Schulte, resulting in inhumane and dangerous living conditions. The failure to

mitigate these physically and psychologically dangerous conditions resulting in multi-week

periods of near-total sleep deprivation demonstrated a complete disregard for the humanity and

suffering of Mr. Schulte and was a result of the BOP’s negligent acts and omissions.

        72.    The actions of the BOP represent an impermissible deviation from the actions a

reasonable individual would have taken in their positions, given their knowledge and employment

as operators of the MCC and given the fact that Mr. Schulte’s chronic insomnia and migraine

conditions were known to the BOP prior to his arrival at 10 South.

        73.    At all relevant times pursuant to this Amended Complaint, BOP employees were

acting within the scope of their employment by the BOP, a constituent part of the United States.

        74.    A private employer would otherwise be liable for the negligence of Defendant. The

United States is therefore liable for tort claims under the FTCA.

        75.    Because of the BOP’s negligent conduct, Mr. Schulte has suffered physical injury

in the form of sleep deprivation, increasingly frequent and severe migraines, and emotional and

psychological distress.

                                 FOURTH CAUSE OF ACTION

                          (Damages For Negligent Prohibition of Exercise)

        76.    Mr. Schulte repeats and incorporates by reference paragraphs 1–46.

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       77.     From approximately October 2018 to June 2021, Mr. Schulte was prohibited from

engaging in any outdoor recreation and severely limited in his indoor recreation. As a result, Mr.

Schulte was deprived of access to adequate exercise and involuntarily forced into inactivity.

       78.     At all relevant times pursuant to this Amended Complaint, the BOP was aware that

Mr. Schulte was being denied recreation and suffering physical deterioration as a result. The BOP

was aware of Mr. Schulte’s pre-existing health issues that could be, and ultimately were,

exacerbated by lack of exercise.

       79.     At all relevant times pursuant to this Amended Complaint, the BOP had a duty to

exercise ordinary care to Mr. Schulte.

       80.     At all relevant times pursuant to this Amended Complaint, the BOP failed to

exercise its duty of ordinary care to Mr. Schulte when it negligently denied him access to adequate

recreation, resulting in Mr. Schulte’s physical deterioration.

       81.     The actions of the BOP represent an impermissible deviation from the actions a

reasonable individual would have taken in their positions, given their knowledge and employment

as operators of the MCC.

       82.     At all relevant times pursuant to this Amended Complaint, BOP employees were

acting within the scope of their employment by the BOP, a constituent part of the United States.

       83.     A private employer would otherwise be liable for the negligence of Defendant. The

United States is therefore liable for tort claims under the FTCA.

       84.     Because of the BOP’s negligence, Mr. Schulte has suffered physical injury

including muscle atrophy, hemorrhoids, increasingly frequent and severe migraines, and emotional

and psychological distress.




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                                  FIFTH CAUSE OF ACTION

                     (Damages For Negligent Exposure to Dangerous Air Quality)

         85.   Mr. Schulte repeats and incorporates by reference paragraphs 1–46.

         86.   Mr. Schulte was continuously caused to breathe airborne mold spores, emanating

from the copious black, brown, and yellow mold growing on the ceiling, walls, and window

coverings of all of 10 South’s cells. These conditions were compounded by pepper spray particles,

the COVID-19 virus, and orange lint particles from the laundry, which were recirculated into 10

South from other floors of the MCC. All of these conditions, alone and in combination, posed an

unreasonable risk of serious damage to Mr. Schulte’s respiratory health and basic physical well-

being.

         87.   The BOP was aware of these conditions, which were open and obvious throughout

the 10 South unit.

         88.   At all relevant times pursuant to this Amended Complaint, the BOP had a duty to

exercise ordinary care to Mr. Schulte.

         89.   At all relevant times pursuant to this Amended Complaint, the BOP failed to uphold

this duty to Mr. Schulte, resulting in inhumane and dangerous living conditions. The failure to

mitigate this excessive risk to health and safety demonstrated a complete disregard for Mr.

Schulte’s basic human needs and well-being and was a result of the BOP’s negligent acts and

omissions.

         90.   The actions of the BOP represent an impermissible deviation from the actions a

reasonable individual would have taken in their positions, given their knowledge and employment

as operators of the MCC.

         91.   At all relevant times pursuant to this Amended Complaint, BOP employees were

acting within the scope of their employment by the BOP, a constituent part of the United States.

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       92.     A private employer would otherwise be liable for the negligence of Defendant.

The United States is therefore liable for tort claims under the FTCA.

       93.     As a result of the BOP’s negligent conduct, Mr. Schulte suffered physical injury

including ongoing breathing issues for months upon his confinement in 10 South and continues to

suffer persistent migraines and respiratory issues. Mr. Schulte has additionally experienced

muscle atrophy, limited capacity to exercise as a result of breathing problems, and emotional and

psychological distress.

                                 SIXTH CAUSE OF ACTION

    (Damages For Negligent Pattern and Practice of Failing to Provide Adequate Sanitation,
                          Breathable Air, and Other Rudiments)

       94.     Mr. Schulte repeats and incorporates by reference paragraphs 1–46.

       95.     Mr. Schulte was forced to live under various continuing combinations of inhumane

air and water temperatures, dysfunctional plumbing, blooms of fungal spores, and other dangerous

airborne particles while he was confined in 10 South between October 2018 and June 2021. Mr.

Schulte was deprived of regular indoor exercise, any outdoor exercise, fresh air, and even minimal

exposure to natural light. Mr. Schulte was repeatedly deprived of sleep for weeks at a time. All

of these conditions, alone and in combination, posed an unreasonable risk of serious damage to

Mr. Schulte’s physical and mental soundness.

       96.     The BOP was aware of these conditions, which were open and obvious throughout

the 10 South unit and which Mr. Schulte repeatedly brought to the attention of the BOP.

       97.     At all relevant times pursuant to this Amended Complaint, the BOP had a duty to

exercise ordinary care to Mr. Schulte.

       98.     The BOP failed to uphold this duty to Mr. Schulte, resulting in a pattern and practice

of negligent acts and omissions through which the BOP failed to provide Mr. Schulte with


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adequate, safe living conditions which, in turn, resulted in excessive risk to Mr. Schulte’s health

and safety and in physical and psychological harm to Mr. Schulte.

       99.     The BOP’s failure to mitigate these conditions represents an impermissible

deviation from the actions a reasonable person would have taken in their positions to uphold the

duty the BOP owed to Mr. Schulte.

       100.    At all relevant times pursuant to this Amended Complaint, BOP employees were

acting within the scope of their employment by the BOP, a constituent part of the United States.

       101.    A private employer would otherwise be liable for the negligence of Defendant. The

United States is therefore liable for tort claims under the FTCA.

       102.    Because of the BOP’s unlawful conduct, Mr. Schulte has suffered physical injury,

including intestinal illness, sleep deprivation, increasingly frequent and severe migraines, heart

palpitations, muscle atrophy, respiratory issues, and emotional and psychological distress.

                                    PRAYER FOR RELIEF

       103.    Award Mr. Schulte damages for the pain and suffering caused by the BOP when it

negligently caused Mr. Schulte enduring and severe injuries while he was detained in the now-

shuttered MCC 10 South isolation unit.

       104.    Award Mr. Schulte costs, fees, expenses, and other disbursements associated with

the prosecution of this Amended Complaint, and reasonable attorney fees, pursuant to 28 U.S.C.

§ 2412.




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       105.    Award such other relief that this Court may deem appropriate and equitable,

including injunctive and declaratory relief as may be required in the interests of justice.



Dated: New York, New York
       XXX

                                                      Respectfully submitted,

                                                      MICHAEL W. MARTIN
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                                                      Attorneys for Plaintiff

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